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                 EXHIBIT 36
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     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
     - - - - - - - - - - - - - - - - - - - - x
     JANE DOE 1, individually and on
     behalf of all others similarly
     situated,
               Plaintiff,
                              Case No.
         -against-            1:22-cv-10019-JSR
     JPMORGAN Chase BANK NA,
               Defendants.
     - - - - - - - - - - - - - - - - - - - - x

                    C O N F I D E N T I A L

                  Videotaped oral deposition of
             MARYANNE RYAN taken pursuant to notice,
             was held at BOIES SCHILLER FLEXNER LLP,
             commencing May 24, 2023, 9:39 a.m., on
             the above date, before Leslie Fagin, a
             Court Reporter and Notary Public in the
             State of New York.



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 2           Q.     And then who is Rick Seba?                   09:53:32

 3           A.     Rick was a counterparty of mine              09:53:36

 4   when I joined the bank who was the same as I                09:53:41

 5   was, just for another line of business.                     09:53:47

 6           Q.     Why would you have been cc'd on              09:53:49

 7   this email?                                                 09:53:53

 8                  MR. KRAUSE:   Objection.                     09:53:54

 9           A.     James would have sent up emails to           09:53:56

10   us, and I was fairly new at the bank so he                  09:54:06

11   included myself and others that did things                  09:54:13

12   for the private bank in this email.                         09:54:17

13                                                               09:54:19

14                                                               09:54:23

15                                                               09:54:28

16                                                               09:54:30

17                                                               09:54:32

18                                                               09:54:37

19                                                               09:54:43

20           Q.     Looking in the message portion of            09:54:44

21   the email, where it says, News/Sonar Cash                   09:54:46

22   Rpts.                                                       09:54:46

23                  What is your understanding of the            09:54:53

24   meaning of that?                                            09:54:55

25           A.     Sonar was an alerting engine that            09:54:57
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 2         A.     I do.                                          10:47:56

 3         Q.     Why did you write, I don't want to             10:47:56

 4   forget about this guy?                                      10:48:00

 5         A.     I don't recall this email.         But         10:48:01

 6   clearly I didn't talk to Phil yet, so I                     10:48:07

 7   reminded him we want to talk.                               10:48:10

 8         Q.     Is it possible that this was                   10:48:12

 9   important to you because you did not often                  10:48:16

10   work with clients that were convicted felons?               10:48:18

11                MR. KRAUSE:     Objection.                     10:48:21

12         A.     No.     I think we were a little busy          10:48:22

13   around this time at JPMorgan.                               10:48:25

14         Q.     We are going to move up the chain              10:48:28

15   again, this time to an email written by you,                10:48:30

16   Maryanne Ryan, December 1, 2010 at 10:48 a.m.               10:48:33

17                And you write in response to Phil              10:48:39

18   DeLuca:     Yes, in the PB and approved to stay             10:48:44

19   after his criminal conviction by Cutler.              My    10:48:47

20   fear is will all our touting of goodwill on                 10:48:51

21   the HT work, if anyone should ever say yet we               10:48:54

22   bank Epstein, a known child sleaze.                         10:48:59

23                Do you see that?                               10:49:03

24         A.     I do.                                          10:49:03

25         Q.     What is the HT work?                           10:49:04
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 2         A.     It was a project that was going on             10:49:09

 3   within investigations related to human                      10:49:13

 4   trafficking and certain typology work that                  10:49:21

 5   they were looking to dig through to identify                10:49:28

 6   human trafficking.                                          10:49:34

 7         Q.     What did you mean by, our touting              10:49:36

 8   of goodwill?                                                10:49:39

 9         A.     Phil was involved and was given an             10:49:40

10   award by someone with regards to some of the                10:49:51

11   work the bank had done in the human                         10:49:55

12   trafficking space.                                          10:49:57

13         Q.     Was that an award given by the bank            10:49:57

14   or by an external organization?                             10:50:00

15         A.     External.                                      10:50:02

16         Q.     When you call Epstein, a known                 10:50:04

17   child sleaze, what did you mean by that?                    10:50:14

18         A.     Clearly I was reading the articles             10:50:17

19   that he was alleged to have done some                       10:50:21

20   inappropriate things, so I said it as I saw                 10:50:24

21   it.                                                         10:50:27

22         Q.     So your understanding at that time             10:50:28

23   was that Epstein was a child sleaze?                        10:50:31

24                MR. KRAUSE:     Objection.                     10:50:37

25         A.     That's what I wrote.                           10:50:38
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 2   time as to whether the bank should have                     11:19:59

 3   retained Jeffrey Epstein as a client?                       11:20:01

 4         A.     I believe I did at this time.                  11:20:05

 5         Q.     What was that opinion?                         11:20:08

 6         A.     I thought that Jeffrey Epstein                 11:20:10

 7   should go.                                                  11:20:14

 8         Q.     By go, you mean that the bank                  11:20:16

 9   should no longer keep him as a client?                      11:20:18

10         A.     Correct.                                       11:20:20

11         Q.     When you say, the sleazy PB client,            11:20:21

12   are you referring to the allegations of                     11:20:28

13   sexual misconduct with children that you had                11:20:33

14   referred to in a previous email?                            11:20:36

15         A.     Likely, yes.                                   11:20:39

16         Q.     Is there anything else you can                 11:20:40

17   think of that you might have been referring                 11:20:42

18   to when you said, the sleazy PB client?                     11:20:44

19         A.     No.                                            11:20:47

20         Q.     Moving up to the next email from               11:20:48

21   Phil DeLuca to you, Maryanne Ryan, on January               11:20:52

22   6, 2011.                                                    11:20:56

23                Do you see that?                               11:21:03

24         A.     I do.                                          11:21:03

25         Q.     He writes, This is the guy who                 11:21:03
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 2   likes young girls, correct?          Hope that they         11:21:07

 3   do not cave!!                                               11:21:13

 4                   Do you see that?                            11:21:17

 5           A.      I do.                                       11:21:17

 6           Q.      Based on that first sentence that           11:21:18

 7   Phil DeLuca wrote to you, is it your                        11:21:24

 8   understanding that it was generally known at                11:21:28

 9   the bank that Jeffrey Epstein was a guy who                 11:21:31

10   likes young girls?                                          11:21:35

11                   MR. JOHNSON:    Objection.                  11:21:38

12                   MR. KRAUSE:    Objection.                   11:21:39

13           A.      I don't know generally known at the         11:21:39

14   bank.        Phil and I had the exchange, we were           11:21:42

15   on the same page.                                           11:21:47

16           Q.      And Phil was your direct report, is         11:21:49

17   that correct?                                               11:21:55

18           A.      I reported directly to Phil.                11:21:55

19                                                               11:21:57

20                                                               11:22:07

21                                                               11:22:14

22                                                               11:22:19

23                                                               11:22:26

24                                                               11:22:30

25                                                               11:22:33
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 2                                                               11:22:33

 3                                                               11:22:35

 4                                                               11:22:35

 5                                                               11:22:38

 6                                                               11:22:41

 7                                                               11:22:45

 8                                                               11:22:48

 9                                                               11:22:53

10                                                               11:22:54

11                                                               11:22:57

12           Q.     It was your understanding at that            11:23:01

13   time that Jeffrey Epstein was not using any                 11:23:03

14   bank accounts or wire services in his                       11:23:06

15   exploitation of women or children?                          11:23:11

16                  MR. KRAUSE:   Objection.                     11:23:14

17           A.     If I had thought, I would have               11:23:16

18   acted on it.                                                11:23:18

19           Q.     When Phil says, I hope -- sorry, he          11:23:19

20   doesn't say I -- he says, Hope that they do                 11:23:28

21   not cave.                                                   11:23:32

22                  What did you understand that to              11:23:32

23   mean?                                                       11:23:34

24           A.     We were presenting to the business           11:23:37

25   to tee it back up again to make a decision on               11:23:41
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 2   retention.       So Phil was of the mindset, as             11:23:44

 3   was I, that he had to go.                                   11:23:49

 4           Q.     Why did you think he had to go?              11:23:52

 5           A.     He was a reputational risk to the            11:23:57

 6   bank.                                                       11:24:00

 7           Q.     Why was it a reputational risk to            11:24:01

 8   the bank?                                                   11:24:04

 9           A.     Any client that would be                     11:24:05

10   consistently in the news for any variety of                 11:24:10

11   reasons would present reputational risk to                  11:24:15

12   the bank.                                                   11:24:18

13           Q.     But in this particular instance,             11:24:18

14   what was the reputational risk to the bank?                 11:24:20

15           A.     There were allegations and there             11:24:23

16   was a conviction about improper behavior with               11:24:25

17   a minor.                                                    11:24:30

18           Q.     And at that time you believed those          11:24:35

19   allegations?                                                11:24:39

20                  MR. KRAUSE:   Objection.                     11:24:41

21           A.     I had no firsthand knowledge.        I       11:24:45

22   was reading what I read in the paper, and I                 11:24:47

23   thought it was disturbing enough that the                   11:24:50

24   customer should be re-reviewed for exit                     11:24:53

25   determination by JPMorgan.                                  11:24:57
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 2   exposed further, it would have a negative                   11:48:48

 3   impact.                                                     11:48:51

 4          Q.     So is your understanding of what              11:48:52

 5   you wrote that Catherine felt that more                     11:48:55

 6   information about Epstein could be further                  11:48:58

 7   exposed?                                                    11:48:58

 8                 MR. KRAUSE:     Objection.                    11:49:05

 9          A.     I don't recall whether or not she             11:49:06

10   stated something or this was an implied                     11:49:07

11   statement.                                                  11:49:11

12          Q.     But sitting here today, you view              11:49:13

13   that the two potential options are she either               11:49:16

14   could have stated something or implied                      11:49:19

15   something, but in either instance, the                      11:49:21

16   message she conveyed to you was that there                  11:49:23

17   was concern that more information could come                11:49:26

18   out about Epstein's conduct?                                11:49:29

19                 MR. KRAUSE:     Objection.                    11:49:31

20          A.     No.     I think she was basically --          11:49:32

21   that she telling us -- us meaning Art and I,                11:49:36

22   because we were from the representatives,                   11:49:38

23   that we needed to go to Jes.                                11:49:41

24          Q.     Okay.     In the next sentence you            11:49:44

25   say, Epstein was released in July from house                11:49:48
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 2   arrest and the Palm Beach Post carried two                  11:49:51

 3   articles saying DOJ may be investigating for                11:49:55

 4   child trafficking via a modeling agency he is               11:49:59

 5   part owner in.                                              11:50:04

 6                 Does this refresh your recollection           11:50:05

 7   that you may have been aware that Epstein was               11:50:06

 8   being investigated by a government agency in                11:50:10

 9   early 2011?                                                 11:50:15

10                 MR. KRAUSE:    Objection.                     11:50:19

11                 MR. JOHNSON:     Objection.                   11:50:20

12          A.     I'm reciting an article that                  11:50:21

13   alludes to an ongoing DOJ investigation.                    11:50:23

14          Q.     So you were aware it was possible             11:50:26

15   that the DOJ was investigating Epstein at                   11:50:28

16   that time?                                                  11:50:32

17                 MR. KRAUSE:    Objection.                     11:50:32

18          A.     That is what the press was                    11:50:33

19   reporting.                                                  11:50:35

20          Q.     When you wrote, via a modeling                11:50:42

21   agency he is part owner in, do you know what                11:50:45

22   modeling agency you were referring to?                      11:50:48

23          A.     It had initials -- I discovered               11:50:53

24   there was some modeling agency for which the                11:51:01

25   banker told me something about, M2, owned by                11:51:07
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 2   a guy by the name Brunel, B-R-U-N-E-L.                      11:51:23

 3           Q.     Then you write, I think Catherine            11:51:29

 4   believes that after the briefing on HT that                 11:51:33

 5   Jes would need to point blank ask Jeffrey the               11:51:37

 6   status of any criminal investigations.                      11:51:42

 7                  Do you see that?                             11:51:51

 8           A.     Yes.                                         11:51:51

 9           Q.     And by point blank, what did you             11:51:51

10   mean?                                                       11:51:56

11           A.     Directly.                                    11:52:02

12           Q.     Does that seem to violate what you           11:52:04

13   stated several times today that during an                   11:52:19

14   investigation, the bank would not reach out                 11:52:23

15   to a client regarding any element of that                   11:52:25

16   investigation?                                              11:52:30

17                  MR. KRAUSE:   Objection.                     11:52:31

18           A.     I said we would not reach out.         We,   11:52:32

19   investigations, would not be in direct                      11:52:34

20   contact with a customer.          Discussing                11:52:36

21   something in the public domain by a banker is               11:52:39

22   within and exactly what they should be doing.               11:52:41

23           Q.     So just so I understand, if there            11:52:45

24   is a fact that the investigation team needs                 11:52:48

25   to conduct its investigation but you don't                  11:52:50
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 2          A.     He was a peer of mine.                        13:51:06

 3          Q.     And the subject is Re:       Weekly           13:51:07

 4   update - December 1, 2011.          Is that right?          13:51:16

 5          A.     Correct.                                      13:51:21

 6          Q.     So is the email below that you are            13:51:22

 7   writing indicating your weekly update of                    13:51:25

 8   things you were working on at that time?                    13:51:35

 9          A.     Correct.                                      13:51:37

10          Q.     In December 2011, you included                13:51:38

11   Jeffrey Epstein review, is that right?                      13:51:47

12          A.     I did.                                        13:51:48

13          Q.     What was that review in regards to?           13:51:49

14          A.     I don't recall.                               13:51:55

15          Q.     Do you recall if any other of your            13:51:58

16   peers or members of the team that are                       13:52:01

17   included on this email ever assisted you in                 13:52:03

18   any way regarding Jeffrey Epstein review?                   13:52:06

19          A.     My peers would not have been                  13:52:15

20   involved with Jeffrey Epstein.                              13:52:16

21                 MR. LAW:    This is Exhibit 13, Bates         13:52:45

22          number JPM-SDNYLIT-00453044.                         13:52:58

23                 (Ryan Exhibit 13, Emails, marked              13:53:06

24          for identification.)                                 13:53:34

25                 THE WITNESS:     Okay.                        13:53:34
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 2           Q.      So I direct you to the first email          13:53:34

 3   in the chain at the bottom of the page.             It's    13:53:38

 4   an email from you, Maryanne Ryan, to William                13:53:41

 5   Langford on February 7, 2011, is that right?                13:53:44

 6           A.      Yes.                                        13:53:48

 7           Q.      There is no subject line, is that           13:53:48

 8   right?                                                      13:53:51

 9           A.      There isn't.                                13:53:51

10           Q.      You write, I hear you are out of            13:53:52

11   town as I am meeting Art in the a.m. at your                13:53:56

12   office in the a.m., wanted to catch up on                   13:53:59

13   Epstein as he was the featured ripped from                  13:54:05

14   the headline story on Law and Order SVU this                13:54:11

15   week.        I also read that the State of New York         13:54:16

16   in conjunction with Manhattan DA just two                   13:54:19

17   weeks ago ruled him a level 3, which is the                 13:54:23

18   highest you can be in New York.           So if you         13:54:27

19   have insomnia, you can watch the story over                 13:54:30

20   the internet.                                               13:54:34

21                   Do you see that?                            13:54:35

22           A.      Yes.                                        13:54:35

23           Q.      When you say Law and Order SVU, are         13:54:35

24   you referring to Law and Order Special                      13:54:40

25   Victims Unit?                                               13:54:43
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 2          A.     The television show by that name,             13:54:44

 3   yes.                                                        13:54:46

 4          Q.     Why did you think that Epstein was            13:54:47

 5   the featured ripped from the headline story                 13:54:49

 6   on Law and Order SVU that week?                             13:54:52

 7          A.     That entire series was based on               13:54:57

 8   real life stories, and it's never difficult                 13:55:03

 9   to figure out, since I am a New Yorker, I                   13:55:10

10   knew exactly what this particular episode was               13:55:14

11   on, and so I sent it to William so that he                  13:55:16

12   could see.                                                  13:55:20

13          Q.     In the episode do you recall them             13:55:20

14   ever mentioning Jeffrey Epstein or in any way               13:55:22

15   explicitly saying that the character                        13:55:24

16   portrayed was referencing Jeffrey Epstein?                  13:55:28

17          A.     I don't recall.                               13:55:31

18                                                               13:55:35

19                                                               13:55:37

20                                                               13:55:42

21                                                               13:55:48

22                 MR. KRAUSE:    Objection.                     13:55:53

23          A.          I saw it -- happened to see              13:55:53

24   it, made sure I told William that a customer                13:55:58

25   might have been the implied story that was                  13:56:01
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 2   out in the news.                                            13:56:04

 3          Q.     When you said the Manhattan DA just           13:56:07

 4   two weeks ago ruled him a level 3 which is                  13:56:11

 5   the highest you can be in New York, what did                13:56:15

 6   you mean by that?                                           13:56:17

 7          A.     We now had a registered sex                   13:56:18

 8   offender, in addition to being a convicted                  13:56:22

 9   felon as a customer.                                        13:56:25

10                                                               13:56:27

11                                                               13:56:32

12                                                               13:56:35

13                                                               13:56:39

14                 MR. KRAUSE:    Objection.                     13:56:39

15          A.          I thought it was one more                13:56:40

16   piece of ammunition that might sway him being               13:56:42

17   terminated as a customer.                                   13:56:46

18          Q.     Why would he have been terminated             13:56:48

19   as a customer?                                              13:56:50

20          A.     Again, goes to reputational risk.             13:56:51

21          Q.     Moving up to your email in the                13:57:00

22   chain, at 9:33 p.m., again to William                       13:57:07

23   Langford.      You write in the second sentence,            13:57:15

24   I typed SVU and his name and there is a                     13:57:19

25   Gawker story, Law and Order commerates JE                   13:57:23
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 2   taste for teen hookers.                                     13:57:30

 3                 Do you see that?                              13:57:33

 4          A.     Yes.                                          13:57:33

 5                                                               13:57:34

 6                                                               13:57:43

 7                                                               13:57:47

 8                                                               13:57:50

 9                 MR. KRAUSE:    Objection.                     13:57:53

10          A.     It made me more anxious to get                13:57:56

11   Jeffrey Epstein out of the bank.                            13:57:59

12                                                               13:58:01

13                                                               13:58:04

14                                                               13:58:06

15                                                               13:58:10

16                 MR. KRAUSE:    Objection.                     13:58:11

17          A.     I thought that all of these facts             13:58:15

18   had to be escalated to the business to make                 13:58:18

19   an informed decision about getting him out of               13:58:20

20   the bank.      I was of the opinion that he                 13:58:23

21   should be out of the bank.                                  13:58:26

22                 MR. LAW:    This will be Exhibit 14,          13:59:12

23          with Bates JPM-SDNYLIT-00194162.                     13:59:14

24                 (Ryan Exhibit 14, Email Chain,                13:59:27

25          marked for identification.)                          13:59:41
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 2   There is not an obligation to review it on a                15:22:18

 3   daily basis, but they have to understand what               15:22:23

 4   is going on in their customer's accounts.                   15:22:25

 5          Q.     Would the business review wire                15:22:28

 6   transactions for high risk clients with any                 15:22:34

 7   proximity to when they were -- when those                   15:22:41

 8   transactions occurred?                                      15:22:45

 9                 MR. KRAUSE:    Objection.                     15:22:46

10          A.     What the business, and each                   15:22:51

11   business was different, has to do, all                      15:22:54

12   depended on the business.          The -- if a              15:22:57

13   customer was doing wire transactions in the                 15:23:01

14   private bank, those are facilitated by a                    15:23:04

15   blank employee.       So the customer sends in              15:23:09

16   instructions and they are verified with the                 15:23:14

17   customer and then the customer's information                15:23:15

18   is input.                                                   15:23:17

19                 Private bank customers don't do               15:23:17

20   their own execution.        So if a customer calls          15:23:19

21   in and does something bizarre, that would be                15:23:24

22   a source of referral to investigations to                   15:23:28

23   tell us that they thought something was                     15:23:31

24   unusual about the customer's ask.                           15:23:35

25          Q.     So if there had been any suspicious           15:23:37
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 2   wire activity, your team wouldn't be made                   15:23:40

 3   aware of it unless the business alerted you                 15:23:43

 4   to it?                                                      15:23:47

 5                 MR. KRAUSE:    Objection.                     15:23:47

 6          A.     So every bank's process is a                  15:23:51

 7   layered approach to determining suspicious                  15:23:55

 8   activity.      The bank -- the bank has                     15:23:59

 9   monitoring systems, in this case the private                15:24:03

10   bank had monitoring systems, coupled with                   15:24:06

11   negative media reviews, coupled with subpoena               15:24:08

12   searches.                                                   15:24:12

13                 So it's a layered approach to                 15:24:12

14   determine whether or not a customer's                       15:24:14

15   activity is what is normal and expected and                 15:24:16

16   what we know, based on what we know about a                 15:24:22

17   customer.                                                   15:24:25

18          Q.     So within that layered approach for           15:24:25

19   wire transactions within the private bank,                  15:24:27

20   how would your team be made aware if there                  15:24:32

21   was any suspicious activity in relation to a                15:24:36

22   wire transaction?                                           15:24:41

23                 MR. KRAUSE:    Objection.                     15:24:43

24          A.     So the surveillance of the private            15:24:44

25   bank evolved over the years that I was at the               15:24:53
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 2          A.     They spent, he didn't spend.                  17:16:50

 3          Q.     Did you find it unusual that they             17:16:59

 4   spent a good deal at spa establishments?                    17:17:02

 5          A.     No.                                           17:17:08

 6          Q.     Looking at the beginning of find              17:17:25

 7   No. 1, you say, the opening of DDA accounts                 17:17:27

 8   and a CC for two 18-year-olds turned 19 days                17:17:32

 9   later, that appear to be part of his inner                  17:17:39

10   entourage.      One is mentioned in many of the             17:17:43

11   recaps of the escapades as a willing                        17:17:45

12   participant and assistant when hosting                      17:17:48

13   visitors.      She has received about 450,000               17:17:50

14   since opening from Epstein.                                 17:17:53

15                 Do you see that?                              17:17:56

16          A.     I do.                                         17:17:56

17          Q.     Did you find it unusual that a man            17:17:57

18   over 50 years old was opening accounts for                  17:18:02

19   18-year-old women who were not his relatives?               17:18:09

20          A.     If they were significant other to             17:18:18

21   him, no, I would not have found that unusual.               17:18:21

22          Q.     Did you find it unusual that a                17:18:25

23   willing participant of the escapades was paid               17:18:30

24   450,000 from Epstein?                                       17:18:37

25          A.     I'm not sure which article this is            17:18:46
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 2   referring to.      The way -- the way I phrased             17:18:51

 3   it, if we are referring to that person                      17:18:54

 4   earlier that I looked at, that was in another               17:18:57

 5   email, if -- I thought she was his                          17:19:01

 6   significant other and she was routinely                     17:19:09

 7   gifted money from Epstein and had her own                   17:19:11

 8   account with her own credit card, which had                 17:19:15

 9   no strings; meaning he didn't control it.                   17:19:17

10   She came and went with the banker however she               17:19:20

11   would see fit, that did not appear that                     17:19:22

12   unusual to me.                                              17:19:26

13          Q.     If you learned that she was not his           17:19:27

14   significant other, would it have appeared                   17:19:29

15   unusual to you?                                             17:19:33

16          A.     I would have found it very unusual            17:19:33

17   that he would have sponsored somebody for the               17:19:36

18   private bank to independently operate if --                 17:19:38

19   that would not fit a fact pattern of somebody               17:19:46

20   that was controlling somebody to me.                        17:19:50

21          Q.     Are you aware of anyone at the bank           17:19:52

22   asking Jeffrey Epstein whether these women                  17:19:56

23   were his significant others?                                17:20:00

24          A.     I am not aware of what led to the             17:20:04

25   opening of these accounts.                                  17:20:08
